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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

KNIGHTS OF COLUMBUS STAR OF THE
SEA COUNCIL 7297,

Plaintiff,
v.

CITY OF REHOBOTH BEACH,
DELAWARE;

Civil Case. No, 1:20-cv-00841-LPS
STAN MILLS, in his official capacity as
Mayor of Rehoboth Beach, Delaware;
PAUL KUMNS, individually;

SHARON LYNN, individually and in her
official capacity as City Manager of Rehoboth
Beach, Delaware;

Defendants.

 

 

[PROPOSED] ORDER GRANTING THE JOINT MOTION TO STAY PROCEEDINGS
Upon consideration of the Joint Motion to Stay Proceedings, it is hereby ORDERED this
Hiner 4
~_ \day of ASU_2021 that:
1. The Joint Motion to Stay Proceedings is GRANTED.
2. All discovery, motion, and other deadlines in this case are STAYED for 60 days to allow

for completion of settlement negotiations.

50 ORDERED. Ce

UNITED STATES DISTRICT JUDGE

 

 
